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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

                                        Wheeling Division

 UNITED STATES OF AMERICA

 v.                                                CaseNo.      5~~3 M3~ (O~)
 HARDY CARROLL LLOYD,

                    Defendant.

                                 AFFIDAVIT IN SUPPORT OF
                                  CRIMINAL COMPLAINT

       I, Matthew Messich, being first duly sworn, hereby depose and state as follows:

                       INTRODUCTION AND AGENT BACKGROUND

        1.     I make this affidavit in support of a Criminal Complaint alleging that the defendant,

HARDY CARROLL LLOYD, has violated 18 U.S.C. § 875(c), 18 U.S.C. § 1503(a), and 18

U.S.C. § 1512(b)(1).

       2.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”) assigned to

the FBI Pittsburgh Division~s Wheeling, West Virginia, Resident Agency in the Northern District

of West Virginia and have been so employed as a SA since September 2019. I presently am

assigned to work a variety of criminal and national security matters, including the investigation of

violent crimes and major offenses such as health care fraud, violent crimes against children, and

other violent criminal matters within the area of responsibility of the Wheeling RA. During my

training at the FBI Academy, Quantico, Virginia, as well as on the job experience, I have received

training in a variety of investigative and legal matters, including the topics of Fourth Amendment

searches, the drafting of search warrant affidavits, and probable cause.
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       3.             The facts in this affidavit come from my personal investigation and observations,

my training and experience, and information obtained from other agents and witnesses. This

affidavit is intended to show simply that there is sufficient probable cause for this Criminal

Complaint and the requested arrest warrant and does not set forth all of my knowledge about this

matter. I have set forth only the facts I believe are necessary to establish probable cause that the

defendant has violated 18 U.S.C. § 875(c), 18 U.S.C. § 1503(a), and 18 U.S.C. § 1512(b)(1).

                                          RELEVANT STATUTES

       4.             Title 18, United States Code, Section 875 prohibits a person from transmitting in

interstate commerce a threatening communication. A threatening statement must amount to a “true

threat” rather than mere political hyperbole or ideal chatter. True threats have been characterized

by the Supreme Court of the United States as statements made by a speaker who means to

communicate a serious expression of an intent to commit an act of unlawful violence to a particular

individual or group.


       5.             Title 18, United States Code, Section 1503 prohibits, among other things,

“corruptly.   .   .   endeavor[ing] to influence, obstruct, or impede the due administration ofjustice.”

       6.             Title 18, United States Code, Section 15 12(b)(1) prohibits, among other things,

knowingly attempting to use intimidation “with intent to influence, delay, or prevent testimony of

any person in an official proceeding.”

                                            PROBABLE CAUSE

       7.             As detailed below, the FBI’s investigation has revealed that HARDY CARROLL

LLOYD has corruptly endeavored to influence, obstruct, and impede the due administration of

justice in United States ofAmerica v. Robert Bowers, Criminal No. 18-292, in the United States
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District Court for the Western District of Pennsylvania by engaging in threatening conduct directed

at the jury and government witnesses, as described more fully below.

       8.         Bowers was charged with several federal crimes for fatally shooting 11 individuals

at the Tree of Life synagogue in Pittsburgh in 2018. Jury selection began on April 24, 2023. The

jury returned a verdict of guilty on June 16, 2023. The penalty phase began on June 26, 2023, to

determine whether Bowers would receive the death penalty. On July 13, 2023, the jury found

Bowers eligible for the death penalty. On August 3, 2023, Bowers was sentenced to death.

                                YouTube Comments Made by LLOYD

       9.         On March 21, 2023, Google contacted the FBI about certain troubling comments

made to YouTube by usemame “Reverend Lloyd.”

       10.        Google provided subscriber information for the account, which revealed the

following:

             a. LLOYD is the subscriber.

             b. A specified Gmail account as the associated email address.

             c. LLOYD was a resident of Pittsburgh, Pennsylvania and Austin, Texas, which

                  information was listed in Google Wallet for the user.

             d. A phone number ending 8244.

             e. LLOYD has a YouTube Channel, and his YouTube display name is “Reverend

                  Lloyd, PM.”

             f.   The YouTube account was created on October 6, 2020.

             g. There were logins to the account in 2023 on February 23, 24, 25, 26, 27, and March

                  2,3,4,7,8,9,11,13,15,16,17, 18,20,and2l.
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       11.        In addition to the subscriber information, Google also shared several comments

made by “Reverend Lloyd, PM” on YouTube, as documented below, in relevant part:

             h. Date: 2023-02-25 23:12 UTC; Comment Text: See my website, I openly advocate

                  killing jews and cops. WWW.CREATIVITYRELIGION.COM

             i.   Date: 2023-03-16 00:58 UTC; Comment Text: If you have the names and home

                  addresses of the CEOS and cops and feds who were behind this send to us and we’ll

                  dox them on our website!! WWW.CREATIVITYRELIGION.COM

             j.   Date: 2023-03-16 01:20 UTC; Comment Text: We must start killing jews now!!

             k. Date: 2023-03-16 01:31 UTC; Comment Text: I only fear that the jews will win.

                  We must start killing jews now.

             1.   Date: 2023-03-16 0 1:33 UTC; Comment Text: @Jupiter Five Wait, do you mean

                  should we kill negroes? Sure. But the jews run the world, so they need to be targeted

                  first. Negroes are just beasts....

             m. Date: 2023-03-16 02:04 UTC; Comment Text: Kill the trannies and jews!! Die

                  faggot scum!! Learn the White Man’s TRUE Religion, CREATIVITY, at

                  WWW.CREATIVITYRELIGION.COM

                  HTTPS ://WWW.CHURCHOFBENKLASSEN.ORG

             n. Date: 2023-03-16 02:06 UTC; Comment Text: WHITE POWER, girl!! Preach the

                  truth!!    Kill    all    transvestites   and    shemale     paedophile      freaks!!

                  WWW.CREATIVITYRELIGION.COM

             o. Date: 2023-03-16 02:11 UTC; Comment Text: We need to start killing trannies!!
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             p. Date: 2023-03-16 02:11 UTC; Comment Text: Protect White Women!! Murder

                  traimies and antifa!! Kill all transvestites and shemale paedophile freaks!!

                  WWW.CREATIVITYRELIGION.COM

             q. Date: 2023-03-16 02:11 UTC; Comment Text: Murder all tranns youth!!

             r.   Date: 2023-03-16 02:13 UTC; Comment Text: Kill all tranns!! Murder the

                  paedophiles!!    Kill   all    transvestites   and   shemale   paedophile    freaks!!

                  WWW.CREATIVITYRELIGION.COM

             s. Date: Mar 20, 2023 3:35 PM PDT; Comment Text: We need to ship the niggers

                  back to Afrika. And just kill all the kikes.

       12.        Throughout        the         comments,        LLOYD       frequently       mentions

WWW.CREATIVITYRELIGION.COM.

       13.        Investigators   have    visited   WWW.CREATIVITYRELIGION.COM,                 whose

headline is: “WELCOME TO THE CHURCH OF BEN KLASSEN (TCBK),” and beneath that,

“YOU SEEK TO END WHITE GENOCIDE? JOIN WITH THE ONLY WHITE CREED THAT

FIGHTS BACK!” TCBK was founded in 2003 by, “Rev. LLOYD to maintain the purity of the

religious teachings of our Holy Faith. Our beliefs are founded upon the White Racial Religion of

Creativity, which Ben Klassen created in 1973.” TCBK claimed not to promote white supremacy,

but rather advocated for complete racial separation. Your Affiant understands the “White Racial

Religion of Creativity” and TCBK to be an off branch of the “Creativity Movement,” which was

initiated in the 1 970s. Ben Klassen was heavily involved in the movement’s origins.

       14.        Review of WWW.CREATIVITYRELIGION.COM revealed an “enemies page,”

where LLOYD, seemingly, was publicly doxxing law enforcement and private citizens. Based on

my training and experience, I have learned that “doxxing” or being “doxxed” refers to the
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compilation and publication of personal information, including name, address, Date of Birth,

phone numbers, Social Security Number, possible embarrassing photos, and other identifying

information        often   for   the   purpose    of   harassing    or   intimidating    the     target.

WWW.CREATIVITYRELIGION.COM also included places of employment, and photos of the

children belonging to the people who go against his ideals.

          15.      The “enemies page” of WWW.CREATIVITYRELIGION.COM includes the

caveat:

          This page contains PUBLICLY GATHERED info, 90% off their own social media
          accounts, of known anti-White bigots and criminals. This info is posted, in keeping
          with US laws of Free Speech, for Lone Wolves. It is NOT illegal to post this info,
          nor to say it is for Lone Wolves. US law allows such speech. This would ONLY be
          illegal if we called for actual direct action against them. We are simply re-posting
          their own publicly posted info, and stating our OPINIONS for Lone Wolves. Which
          makes it 100% LEGAL!!

                FBI Corroborates LLOYD’s Connection to Follansbeeg West Virginia

          16.     During its investigation of LLOYD, in April 2023, the FBI learned that LLOYD

had a Post Office Box in Follansbee, West Virginia, he had a residence nearby to the post office,

he registered to vote in Brooke County, and he registered a vehicle with the West Virginia

Department of Motor Vehicles.

                      LLOYD Begins to Comment Online about Bowers Trial

          17.     On May 2, 2023, LLOYD began to comment online about the trial of Robert

Bowers. He made posts on www.creativityreligion.com and comments in emails associated with

the website and on the social media site VKonatkte, also known as VK.

          18.     On May 2, 2023, LLOYD posted on VK:
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             Church of Ben Klassen
             2 May at 8:39 pm
  Free Robert Bowers Target Pgh
                         -




  Even though I believe the ‘shooting was another false flag, I would LIKE to believe that a
  man with ZER PA documentation a existence dd gun down a dozen f lthy Jews. Our
  members n the Tn-State will be flyer ng Pg as a resu t. Jewhil and Fr ck Park will be
  littered with flyers and sUckers. We dd order a lot of those nice WH TE PEOPLE ROCK
  one& Love those! Oh, ya, wont it be fun when we target the ews!!

  RAHOWA
  www.crea vityreligion.coni
       19.     GPS location information for the cell phone of LLOYD, obtained via search

warrant, revealed that the phone was within an approximate four-mile or less proximity of

LLOYD’s residence on May 2, 2023.

      20.      On May 14, 2023, LLOYD posted on VK:

                          Church of Ben (lessen
                          14 May at 4.29 am
                  Free Robert Bowers Now!!

                  RAHOWA to All

                 The Pgh, PA Jew media is posting very little on Robert Bowers, the Great Lone Wolf on
                 Pgh who whacked 11 klkes lii JewNIll Some arpers cut there claim that this makes us
                 look bad. They say that even though we a e now iving in the TURNER OAR ES that we
                 still need to be ‘legal. What a buntch of pussies!i We need 10 support anyone who kills a
                 jaw. And since he killed 11 ylds we say NELL VA, FREETI-IIS GREAT MAN!! Lone Wolves
                 need to be honoured. And though we ques on ALL SHOOTINGS in the 21st Century, as
                 the jews Uke to make false flags I e Sandy Hook we will go wtth supporting ANY and
                 ALL White Warriors who gun down ews We want Wh tes to emulate these courageous
                 acts of heroism. So we raise a glass to Lone Wolf Hero Robert Bowers. We support you
                 Brother!!

                 Coincidental y, this was sed as the preteid tor kidnapping me in 2019 to prevent
                 another shooting of ewish people as quoted by Brokos, the Mossad kike dyke of Pgh’s
                 jew sh federation. Her info s listed be ow, and was added to the ENEM ES PAGE. Along
                 with a bunch of pica of her family and Jewy friends. All who live and work In Pgh/JFotP
                 Dont fuck with us Creators!i

                 RAHOWA
                 Rev. Ucyd, PM
                 church of Ben Klassen
                 svww creatvltyrel glon .com
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      21.     GPS location information for the cell phone of LLOYD, obtained via search

warrant, revealed that the phone was within an approximate four-mile or less proximity of

LLOYD’s residence on May 14, 2023.



      22.     On May 17, 2023, LLOYD posted on VK:


             Church of Ben Kiassen
             today at 3:45 am

    Robert Bowers Did Pgh A Favour. Any juror who fnds him guity is guity of anti-White
    racism!!




      23.     On May 17, 2023, LLOYD posted on VK:

      3 350 POSTS

             Rardy Lloyd
             :oday at 1018 pri
      FREE RICHARD BOWEFSr PCH. O~ ELSE THERE W L BE CONSIQUENCES I!.

       V
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               LLOYD Begins to Direct Online Comments toward Bowers Jury

         24.     On May 17, 2023, LLOYD made the following post to creativityreligion.com:

 B CHURCHOFBENKLASSEN                                WELCOME TO THE
                                                     CHURCH OF BEN
                                                     KLASSEN

                                                                 Robert Bowers
                                                                   Is A Hero!!
                                                      Any juror who finds him guilty
                                                      is An Anti-White Criminal And
                                                          To Be Treated As Such!!

       25.     On May 17, 2023, LLOYD sent an email to various Pittsburgh news outlets,

including KDKA and WPXI, and to others with email account names apparently indicating

adherence to the creativity movement, titled, “Stickering Pgh for Robert Bowers Trial”:

       We demand that Robert Bowers be freed. We shall be stickering, ‘legally’, Pgh
       starting next week and ending one week after the end of the trial. Stickers and
       flyers to go up in greater Pgh in support of Lone Wolf Hero Robert Bowers. We
       will also be publishing the PUBLIC names and addresses of those who vote against
       him via filing LEGALLY with the county seat for the trial records after the trial.
       Which is legal to do under PA law. Something for the people of Pgh to keep in
       mind as they vote on this great man. Remember, jurors, we WILL be watching and
       we WILL be taking pictures of ALL cars and people who leave the courthouse.
       And it’s 100% LEGAL to do this, too!! We will have members and supporters on
       the PUBLIC sidewalk and corners exercising their FREE SPEECH RIGHTS in
       taking photos of cars and people entering and leaving the courthouse, which is
       LEGAL to do from PUBLIC areas, as SCOTUS has ruled that there is no
       expectation of privacy when in public or from public spaces. SUCK IT!!

       Send donations for stickers and flyers to Reverend Lloyd via CashApp. Or send
       stickers from TightRope as a donation.

       26.     GPS location information for the cell phone of LLOYD, obtained via search

warrant, revealed that the phone was within an approximate four-mile or less proximity of

LLOYD’s residence on May 17, 2023.
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        27.       On May 18, 2023, LLOYD made a post to the “enemies” page of

 creativityreligion.com, which included the following message:

               If anyone has the doxing Info, 4çg~y, for the 70 jurors on the Richard Bowers
               triaL In Pgh, send to us so we can ~g~y post said PUBLIC INFO as a usefuL
               guide to keep the triaL honest. Oh, and we WILL be fiLing at county records for
               their names and home/work addresses to LEGALLY POST after the triaL is over.
               Which is keeping with PA state Laws regarding doxlng of jurors post triaL via
               PUBLIC INFO!! Y’alL who are on the jury, make sure to vote what you know in
               your heart is moraLly correct.



                FREE RICHARD BOWERS, CITY OF PITTSBURGH OR
                ELSE THERE WILL BE ‘LEGAL’ CONSIQUENCES !!!
        28.       The May 18, 2023, post was made under the following caption:

              The Following People Are Anti-White Bigots Who Promote And/Or
              Commit Crimes Against Whites
              This page contaIns PUBLICLY GATHERED info. 90% off their own social media accounts, of known anti-
              White bigots and criminals. This info is posted, in keeping with US Laws of Free Speech, for Lone WoLves.
              It is NOT iLlegaL to post this info, nor to say it is for Lone Wolves. US Law allows such speech. This wouLd
              ONLY be iLLegaL if we called for actuaL direct action against them. We are simpLy re-posting their own
              publicly posted info, and stating our OPINIONS for Lone Wolves. Which makes it 100% LEGALII


        29.       On      May         19,     2023,        at     11:06       p.m.,       LLOYD            sent      an      email   to

 creator8ll@protonmail.com, stating, “I wonder if this is because of my emails?” He included a

 hyperlink to a cbsnews.com, titled “Jurors’ names in Pittsburgh synagogue shooting trial to be

 sealed until verdicts,” which was released by KDKA News the same day at 9:19 p.m.

        30.       On May 19, 2023, at 11:08 p.m., LLOYD sent an email to various Pittsburgh news

 outlets, including KDKA, WPXI, and WTAE, and to others with email account names apparently

 indicating adherence to the creativity movement, stating:

        We will be filing for the names after the trial to publicly post on our enemies page
        in keeping with PA state law. We are allowed to post said info to LWs as part of
        1A protected speech. Those who vote against this great man must keep this in
        mind!!




                                                                  10
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         31.     On May 19, 2023, at 11:22 p.m., LLOYD sent an email to revcreator~yahoo.com,

 copying various Pittsburgh news outlets, including KDKA, WPXI, and WTAE, with the subject

 “Ouch,” stating:

        This woman was a juror on a case and voted against the defendant.
        After the trial some asshole posted her PUBLIC record onto social media.
        Bitch went to the grocery store.
        She never came home.
        Guess she should have voted the White way?!?

        Looks like it hurt.

        32.     Attached to the email was a photograph of a gunman shooting a woman in the face

 from the first-person point of view of the gunman.

        33.     On    May       19,       2023,   at   11:23   p.m.,   LLOYD    sent   an   email   to

 creator8ll@protonmail.com, stating, “I plan on filing for the names after the trial. Hope the jurors

 get told that and vote the right way?!?”

               White Supremacy Themed Stickers, Bearing a LLOYD Web Address, Are
                                   Discovered in Pittsburgh

        34.     Between May 19 and 20, 2023, white supremacy themed stickers were found in

 Pittsburgh, bearing the web address churchofbenklassen.org. Entering churchofbenklassen.org

 into a web browser takes a visitor automatically to creativityreligion.com.           Following are

 photographs of the stickers:




      OKAY
       10                                                              ChurchOfBenklassen ORG

       BE                             I
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        35.     The sticker with a swastika resulted in the following social media post:

                                   Sunday soccer with a side of white supremacy at the
                                   Schenley Ovai. White natlonatsts are busy getting their
                                   message of hate out- be iouder and busier. @citiparks

                                     U       LES
                                    •URCAR                     ~.



                                    SE ~ALL9iL_
                                        II,,: ~




                                IOIi.       [1Ti~’



        36.     The Google Drive for LLOYD’s Google account, referenced above, contained a

 photograph, as of Google’s May 5, 2023 search warrant return, with a last modified date of March

 11, 2023, which depicts an identical sticker with a swastika, as follows:




                   I           \
                                     \—------




        37.     On May 20, 2023, a citizen posted the following picture on REDDIT of a sticker

 found the same day in the Oakland area of Pittsburgh. The sticker also bears the web address

 chruchofbenklassen.org.
                                   So Sad to See This. Spotted Today at
                                   Bouievard+Dawson




                                                        ii I I ~E~I)N~’~          ~
                                                                                   /
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         38.     Comments on this post mentioned LLOYD, with one commenter stating: “Hardy

 Lloyd is back in the area. Be very careful if you see him posting this stuff.”

         39.     License plate reader information shows that LLOYD’s vehicle was in the

 Pittsburgh area on the evening of May 18, 2023, and the early morning hours of May 19, 2023, as

 follows:

         Date: May 18, 2023, 11:00:43 PM; Camera: UNDERPASS LANES 2-3 Agh,
         Oakland, 5th Aye, N Craig St, Pittsburgh Pedestrian Bridge, Underpass, Lane 2,
         Lane 3

         Date: May 19, 2023, 2:42:22 AM; Camera: CRAIG ST INBOUND AT 5TH Agh,
         Oakland, 5th Aye, N Craig St, Pittsburgh Pedestrian Bridge

         40.     On May 24, 2023, LLOYD sent an email to several recipients, including

 individuals with email account names apparently indicating adherence to the creativity movement

 and/or who ascribe to white supremacist ideology, about an alleged police shortage in Pittsburgh,

 making it vulnerable for lone wolf attacks. At the end of the message, LLOYD stated:

         By the way, great job on flyering the city, guys. REDDIT blew up over the last two
         weeks with all the flyering you have been doing. Keep it up.



        P.S. The anti-White bigots in Pgh on REDDIT are bitching about our members
        there passing our flyers. At least they showed one of the flyers. Same happened in
        Canada recently. One pic alone got fifteen thousand views. The pic posted on
        REDDIT claims it got 150,000 views!!!! Great job to all members and supporters
        no matter where you live.

        41.     GPS location information for the cell phone of LLOYD, obtained via search

 warrant, revealed that the phone was within an approximate four-mile or less proximity of

 LLOYD’s residence on May 24, 2023.

        42.     On May 25, 2023, jury selection in the Bowers case concluded, resulting in the

 selection of 12 jurors and six alternates.
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        43.       On May 25, 2023, Imperva produced records regarding LLOYD’s website

 www.creativityreligion.com, which included the following charts showing spikes of activity in

 May 2023:

       Total visits 0
       55.62K 12% Human I 88% Bots
            000

            750
            500

            25:


                        6. Mar        20. Mar         3. Apr        17. Apr   1. May   15. May

            • Human     • Bots

    Total hits 0
     348.4K Avg. hits / sec 0.00                    >1000%

      20k
      15k
      10k

                                 ~.   .~. ~     A   ___.~.    ~ ~             —


                      6 Mar      20 Mar              3. Apr         7. Ap     1 May     15 May

       • Human        • Bots • Blocked
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  Requests ever this


  Peak eqevis                                                                                                                                                                                   ArgWS    Isle
  488




                                       —                                -                   -% — ,-;~. —                                                                              _~
                                                             —      —=~--~“        ~J       ~ ~


        1.11 r,,N   ~eu ‘t11 IIa2 vns v.se aid e~t 1.1; lid VJl~ 1111! 112~ Id;?   1,11 lIeu lii I~s ki   I   ~ ~cse’ v’~   bi   ci   1c11 ~;i ci~ 1~n v;i las VqlI’iiflOlUijl l~II lUll lLjl llIruvla.nui,l;

   I 14         hail    ji    Cai’.    ltc~i




                     44.               On May 28, 2023, LLOYD made the following post to creativityreligion.com:

                                      Richard Bowers TriaL:

                                      RAHOWA to aLL White Brothers and Sisters

                                      The monkey triaL of Lone Wolf Hero Richard Bowers starts Tuesday. The
                                      Ju~ç who’s names are sealed tILL the end of it aLl, was pooled from locaLs,
                                      when it shouLd have been held out of state. They picked 80 names after
                                      going through only 200 peopLe. 18 or 19 have been picked, but aLL wilL sit
                                      on the jury and then the finaL 12 wiLL be ‘hand picked’ to deliberate. Not
                                      even the jurors know who’s to make the finaL caLL interestingLy, the DA
                                      were the ones who struck off the lIst 4 niggers and a spic. interesting?
                                      Perhaps they realized that niggers and spics hate Jews more than they
                                      hate White peopLe?i?

                                      The monkey triaL is being heLd at the federaL courthouse, even though it’s
                                      a local crime. Yep, the same shit hole i had to go through. Not sure why?
                                      Perhaps they are afraid some local piggies might side with a couple of
                                      Lone Wolves and break Bowers out? Maybe worried that some Western PA
                                      locaLs are lust a bit Too rednecky? Maybe we WRL5 have more support in
                                      the sheeple community than we give ourselves credit for? Maybe all these
                                      right-wing losers are worrying the Jews? Something to think about

                                      Now, I stIll cannot find any actual sources on this man from a basic
                                      Internet search. Some Cricket player in England, or a DA In Pgh of all
                                      places, pops up in Internet searches for RICHARD BOWERS. But if we don’t
                                      stick up for those who have the courage to turn the TURNER DIARIES into
                                      a weapon of reaLity, then we have already Lost. And I am NOT ASHAMED to
                                      openly declare that, yes, I support the indiscriminate killing of mud scum!?
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            If it hadn’t of been for Holy Martyr Ben Smith, I would have never heard of
            Creativity and Matt HaLe. If it hadn’t of been for Holy Martyr Robert
            Mathews we wouLdn’t see that Lone Wolf acts work. If It hadn’t of been for
            HoLy Martyr Brian KozeL many young Whites wouLd assume that they
            personally could NEVER fight back against overwhelming odds. Lone
            WoLves are the reason we are still here. Lone Wolves are why we WILL
            win.

              And so we must support those Whites who strike back with righteous
              anger and furry against the JOG that seeks to ensLave and wipe out our
              race. Richard Bowers, we salute you!! Ben Smith, we salute youll Brian
              Kozel, we salute you!! Robert Mathews, we salute youll

              They plan on taring down the so-catted synagauge where the shooting
              happened. The new building will house a ‘memoriaL’ wing. loL

              The trial starts Tuesday, and our members In Ohio and PA have been
              flyering the Pgh area with Church flyers and TightRope stickers. The local
              ARA are bitching and moaning on REDDIT like there’s no tomorrow. I told
              our peopLe to double their efforts. The flyer drive for Western PA shall
              continue aLL Summer Long to show support for the gunning down, flirner
              Diaries style, of ii ylds. Ya know, most synagogues are under guarded.
              Lone Wolves should be targeting more of these. Stop wasting ammo on
              niggers and spics. Niggers and splcs shoot each other. No reason to kILL
              them unLess they move In next door, or date a White woman. No, we need
              to kilL more Jews.

              KILL MORE JEWS!!




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                Jews, rabbis, CEOs, bank presidents, corporate presidents, those who run
                the large investment firms and trans-nationaL corporations, etc.... These
                are the scum we need to kILL The lowLy nagger Is NOT a good target. if ya
                got to go to prison, go in for whacking Ii kikes. Go in for committing a
                mass mud church shooting. Get them I.one Wolf scores up, peopLe ii Its the
                Jews who run the world. KILL ThEM!! Its the shabbos goy CEOs and
                banking/Investment presidents who run the world. KILL THEMII It’s the
                chiefs of the various federal agencies and police departments that send
                the JOGITES and pigs out to murder and kidnap White Civil Rights
                activists. KILL THEM!! Those are the peopLe we need to target. Not the
                niggers. Not the faggots. NOll Walk into a synagogue and gun down 11.
                Jews and one rabbi. THATS how you make a difference, peopLeli

                 So Let us raise a gLass to Richard Bowers and Learn from his Strike of
                 Freedom. Let us take notes so we can increase the body count. Don~t go on
                 a podcast and rant about some nigger and spic. Don’t hold a raLly with 5
                 peopLe. Don’t wave your gun In the air without shooting anyone. No, go
                 out there and KILL A FEW JEWS!!

                RAHOWA
                Rev. LLoyd, PM
                Church Of Ben Ktassen
                www.creativityreLigion.com

        45.     GPS location information for the cell phone of LLOYD, obtained via search

 warrant, revealed that the phone was within an approximate four-mile or less proximity of

 LLOYD’s residence on May 28, 2023.

        46.     On May 30, 2023, the Bowers trial began with opening statements.

        47.     On May 30, 2023, at 11:23 p.m., WPXI-TV in Pittsburgh published an article,

 “Multiple people reportedly find anti-Semitic stickers, flyers at playground in Squirrel Hill.”

 According to article, these stickers, some of which contained a swastika, were found earlier the

 same day at the Wightman Park and Playground in the Squirrel Hill area of Pittsburgh. The article

 referenced a REDDIT article where a user posted, “I’ve removed at least 15 Nazi stickers and fliers

 so far.” Some comments on the post connected the stickers to the start of the Bowers trial. Another

 user believed “Hardy Lloyd” was responsible. One user commented, “Saw one at a bus stop in
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 Oakland today. It was scarier to see a swastika with the actual contact information for a hate group

 than to just see a swastika. It sucks to think a group like that is publicly recruiting.”

        48.      On May 30, 2023, LLOYD sent the following email to various Pittsburgh news

 outlets, including KDKA, WPXI, and the Pittsburgh Post-Gazette, and to others with email account

 names apparently indicating adherence to the creativity movement:

         We have struck Pittsburgh and shall continue to pass out flyers until Richard
         Bowers, the great WHITE hero of Pgh, is freed. We shall also file for the names of
        the jury once it is over to make sure they voted the right way. If Bowers is not freed
        then we shall not only up our flyers, but also make PGH sorry. We cannot state
        what this is, of course. Don’t want to say anything NOT covered under the 1A. But
        just know that any guilty verdict could bring down the wrath of lone wolves in the
        region. Not saying we would directly do or plan anything. But know that lone
        wolves will do something, and we cannot prevent them, nor would we want to. Free
        this great WHITE hero! RAHOWA Pgh Congregation of the CoBK Contact this
                                              —                                   -


        email, Lisa’s email, or Reverend Lloyd’s email.

        49.     On May 30, 2023, LLOYD sent the following email to email addresses of

 employees of the Pittsburgh City Paper:

        Our Church has been passing our flyers in Western PA and Ohio supporting
        Bowers. We are also going to file for the names and addresses of the jury once it’s
        over to check and see who voted against him. Which is legal to do in PA.

        Any questions?

        50.     GPS location information for the cell phone of LLOYD, obtained via search

 warrant, revealed that the phone was within an approximate four-mile or less proximity of

 LLOYD’s residence on May 30, 2023.

        51.     On May 31, 2023, the page on the online version of the Pittsburgh Post-Gazette

 dedicated to coverage of the Bowers trial with several live updates included an article posted at

 11:34 a.m. that morning titled, “Despicable to see’: Antisemitic flyers found in Squirrel Hill as

 trial starts.” The article discussed the same stickers found at Wightman Park and Playground in

 Squirrel Hill the day before. The article included a link to the REDDIT post from the day before,


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 described above. The articles preceding and following the article described Bowers trial witness

 testimony. The article was preceded seven minutes prior by an article titled, “Members of 2

 different congregations testify about the shooting.” The article was followed 25 minutes later by

 an article titled, “This one’s alive’: Survivor of the shooting describes being rescued from a

 stairwell.”

             52.                 GPS information for LLOYD’s cell phone (the number listed in the Google

 subscriber information), obtained pursuant to a search warrant issued by this Court, and license

 plate reader information for LLOYD’s vehicle place LLOYD in the Pittsburgh area on the evening

 of May 29, 2023, and in the early morning hours of May 30, 2023, as follows:

             Phone GPS Location Information (average radius of the pings is approximately 1395
             meters/U. 86 mile):


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                                                                                                    Legend

                                                                                                      2023-05-30

                                                                                                      202 3-05-29
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         License Plate Reader Information:

               a. Date: May 29, 2023, 3:39:06 PM; Camera: UNDERPASS LANES 2-3 Agh,
                  Oakland, 5th Aye, N Craig St, Pittsburgh Pedestrian Bridge, Underpass, Lane 2,
                  Lane 3
               b. Date: May 29, 2023, 3:41:50PM; Camera: CRAIG ST OUTBOUND AT 5TH Agh,
                  Oakland, 5th Aye, N Craig St, Pittsburgh Pedestrian Bridge
               c. Date: May 30, 2023, 2:19:44 AM; Camera: CRAIG ST OUTBOUND AT 5TH
                  Agh, Oakland, 5th Aye, N Craig St, Pittsburgh Pedestrian Bridge
               d. Date: May 30, 2023, 3:40:48 AM; Camera: CRAIG ST INBOUND AT 5TH Agh,
                  Oakland, 5th Aye, N Craig St, Pittsburgh Pedestrian Bridge
                     LLOYD Receives Subscriptions to His Email Newsletters
         53.      Between      May       2,       2023,   to    June       1,   2023,        the   email

 ReverendL1oyd~creativityreligion.com, one of the emails associated with LLOYD’s website,

 received 10 emails from email no-rep1y~editmysite.com with the subject line “New Form Entry:

 Newsletter Form. Emails contained “Submitted Information: Your Email.”

          LLOYD Begins to Direct Online Comments toward Bowers Trial Witnesses

         54.      On June 2, 2023, LLOYD made a post to the “enemies” page of

 creativityreligion.com, which included the following message:

                Members of Pittsburgh’s Jew community enter the FederaL courthouse in
                Pittsburgh for the first day of trial for Robert Bowers. May 30, 2023, in
                Pittsburgh. Taken from jew media. So, kind of funny. Lol BeLow are pics of
                                                                       -


                those who supported the jews during and after the so-called ~hooting~
                Most Live in the Pgh region, and a majority are probably jews. If you have
                the personal info on anyone pictured here please send to us so we can post
                it here. ALL pics taken from pubLicLy posted media posts.

         55.      The post included a photograph of individuals entering the Federal courthouse in

 Pittsburgh for the Bowers trial, as well as a collage of photographs. The photographs in the collage

 depict several victims and witnesses of Bowers’ attack (including “WITNESS 1,” discussed further

 below) and first responders to Bowers’ attack, some of whom had already testified at the trial and

 others who had not yet testified at the trial.




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            56.   OPS location information for the cell phone of LLOYD, obtained via search

 warrant, revealed that the phone was within an approximate four-mile or less proximity of

 LLOYD’s residence on June 2, 2023.

            57.   On June 2, 2023, the Jewish News Syndicate posted an article online about

 LLOYD, including about his first May 30 email above, titled “White supremacist calls for

 violence amid Pittsburgh trial for synagogue shooter.”

            58.   On June 2, 2023, the Cleveland Jewish News reposted the Jewish News Syndicate

 article.

            59.   On June 3, 2023, LLOYD made a post to the “enemies” page of

 creativityreligion.com. The post included a photograph of WITNESS 1, listed the first and last

 name of WITNESS 1, and stated that WITNESS 1 was “of Squirrel Hill,” a suburb of Pittsburgh.

            60.   The post was made under the caption:

 This page contains PUBLICLY GATHERED info, 90% off their own sociaL media accounts, of known
 anti-White bigots and criminaLs. This info is posted, in keeping with US laws of Free Speech, for Lone
 Wolves. It is NOT iLlegal to post this info, nor to say it is for Lone WoLves. US Law allows such speech.
 This would ONLY be ilLegal if we caLled for actual direct action against them. We are simpLy re
 posting their own pubLicLy posted info, and stating our OPINIONS for Lone Wolves. Which makes it
 100% I.EGALH

            61.   GPS location information for the cell phone of LLOYD, obtained via search

 warrant, revealed that the phone was within an approximate four-mile or less proximity of

 LLOYD’s residence on June 3, 2023.

            62.   On June 4, 2023, an FBI special agent, who was assisting on the Bowers case but

 not working in any way on this investigation, and in the absence of any request or prompting from

 your affiant or any agent working on this investigation, notified WITNESS 1 and certain family

 members of WITNESS 1 that WITNESS 1 was mentioned by an unnamed individual on his

 website. WITNESS 1 was informed that the individual was on law enforcement’s radar and that

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 the FBI was monitoring the situation. WITNESS 1 and certain family members of WITNESS 1

 stated that this information worried them but that they were not going to change their lifestyle.

        63.       In the days following this post, WITNESS 1 testified at the Bowers trial

 proceedings.

        64.       The same FBI special agent also notified some of the other witnesses who were

 depicted in the collage of photographs contained in LLOYD’s June 2, 2023, post. In subsequently

 documenting these notifications, the special agent stated that she had informed the witnesses that

 the post “contained no threat” towards them.

          LLOYD’s Gmail Records Further Corroborate Residence at PREMISES

        65.      On June 7, 2023, Google produced emails from LLOYD’s Gmail account, as listed

 in the records produced by Google in March 2023. The account contained a month-to-month lease

 agreement for the PREMISES that LLOYD executed on March 30, 2022. The account also

 contains receipts documenting LLOYD’s rent payments, including a payment on May 4, 2023.

          FBI Confidential Human Source Contacts LLOYD about BOWERS Trial

        66.      On June 13 and June 14, 2023, an FBI Confidential Human Source (“CHS”)

 emailed LLOYD to solicit information on previous statements made by LLOYD. The CHS

 initiated conversation with LLOYD stating, “Do you have any information about Robert Bowers

 jurors yet? I’m ready to go hunting.” LLOYD responded with the following messages:

              a. “You must STOP requesting info on the BOWERS jurors, or else I must report this
                 as a COINTELPRO entrapment case to the authorities in order to protect myself
                 from someone either trying to entrap me, or someone about to do an illegal act. My
                 attorney would also file on my behalf in the Western PA district of the federal court
                 system in order to protect me from entrapment. STOP ASKING ME FOR
                 ILLEGAL SHIT NOW OR ELSE THIS GETS REPORTED!! Ask one more time
                 and my attorney calls the feds to report a case of entrapment! !“

              b. “I will never provide ANY info that may or may not be used for ANY illegal act! !“



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          c. “I therefore must ask you to stop requesting the names of the jurors in the bowers
             show trail from myself and from any member.”
          d. “I am not saying you are trying to entrap myself. But the constant requests are very
             strange!! Stop requesting.”

          e. “I have no intention ofpaying for ANY trial’s transcripts for personal info on jurors,
             cops, DAs and/or judges; which could be construed in court as a semi-illegal act.”

          f.   “I ain’t flying 2000 miles for info on a trial that I actually don’t follow.”

          g. “Listen, Brother, I do not live in PA, nor anywhere near PA.”

          h. “I have no intention of flying to Pgh, paying $100, and waiting 30 days for a FOIA
             request that ANY PERSON iN PA CAN DO.”

          i.   “I appreciate your desire to be active for your race. HOWEVER, I do find the
               incessant emails and hotline texts   rather odd.”
                                                   ...




          j.   “But why are you asking me, sometimes several times a day, for info I cannot
               possibly obtain?”

          k. “Now, nothing said has been illegal, and my responses have been very legal.”

          1.   “No reason to do anything so obviously illegal that another White Man goes down.”

          m. “If someone sends me info on the trial that can be publicly obtained, then I would
             post it on the website. However, since I don’t live anywhere near PA, and since we
             are pretty sure the records are sealed till the end of sentencing, we have zero
             BOWERS info to tell people.”

          n. “Right now asking a known WRL activist for info on a sealed trial could become
             an illegal act in and of itself. So don’t ask me.”

          o. “Also, I wouldn’t be able to say anyway, as I would have to fly to Pgh to openly
             request said documents.”

          p. “Posting for the world is legal, while sending an email to one person could be illegal
             as a possible crime.”




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              q.   “...the shooting happened in Allegheny county, and the trial is taking place there
                     county records should have this info. But, a judge sealed it until after either the
                 trial or sentencing. So one has to wait till then to file for it.”
              r.   “...once in a Blue Moon someone will get a TRIAL TAMPERING charge for
                 posting specific info on people from a trial.      this to me seems to violate the 1A.
                                                                  ...


                 AND would have to be proven in court       ... even though the trial would be over
                 thus no tampering could take place.”

              s. “But it did happen to a friend of [name], who did send out the names and address
                 of one or two of his jurors. To me that’s public record.

              t.   “Yet with the BOWERS show trial, who knows?!? It is legal to request public
                   documents.”

              u.      posting that info online under the title of INFO RELATED TO THE BOWERS
                   “...


                   TRIAL should protect the poster. Especially if they are posting to the world
                   NOT     one person, which might be construed as a ‘possible criminal act’.”
                           ...




        67.        Based on my training and experience, I know individuals like LLOYD, who has

 had dealings with law enforcement, might be aware that law enforcement officers utilize CHSs to

 obtain incriminating evidence through contact with the target of an investigation. Based on the

 aggressive approach of the CHS, I believe it is possible that LLOYD recognized the CHS

 contacted him at the request of law enforcement to obtain incriminating evidence. This belief is

 also based on LLOYD’s responses, which contained false exculpatory statements. For example,

 LLOYD falsely stated that he resides nowhere near Pittsburgh or Pennsylvania, when this

 investigation has revealed that he resides in Follansbee, West Virginia, which is approximately

 45-minutes from Pittsburgh and approximately 12-minutes from the Pennsylvania state line. In

 addition, LLOYD falsely stated that he does not follow the Bowers trial, yet this investigation has

 revealed that he has been commenting online frequently about the trial for the past six weeks.

                          LLOYD Comments Online about Bowers Guilty Verdict

        68.        On June 15, 2023, the jury began its deliberations.



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           69.     On June 16, 2023, shortly before noon, the jury returned a verdict of guilty on all

 counts.

           70.     On June 16, 2023, within a few hours of the verdict, LLOYD made the following

 post to creativityreligion.com:

                  Pgh Must Pay!!

                  RAHOWA my White Brothers and Sisters
                 ~*Ll, no surprise, but the jury in the Hero Bowers show trial just found Lone Wolf Warrior
                 Bowers ‘guilty’ of fumigating 11 rats in Pgh. Welt I just found out from a caLl by our people in
                 Pgh. So this could of happened hours ago? I call upon ALL members and supporters, as well
                 as aLL WRLs, in the Tn-State of Western PA to SLAM Pgh, Buffalo and CleveLand with flyers
                 and stickers. Smash that town to the ground. BURN, BABY, BURN!! LegalLy, of course.




                 If you are a Lone Wolf who lives in PA, Ohio or Western NY I pray you take this out on
                 random kikes?!? And if you do kill, make sure to do it smart, not emotional, and get away.
                 Legally, of course.




                 I also just heard that Pgh out of alL the towns in the Tn-State wiLl be RIPE for Lone WoLf
                 Freedom strikes and fLyering this weekend (16th to 19th) for the foLlowing reasons:
                 1) Taylor Swift concert. WouLdn’t it be nice if some LW shot it up??? Not that we would EVER
                 suggest something so ‘iLLegat (Wink Wink) - Maybe just start a few fights inside the concert?
                 See if you can get any negroes there to start attacking random Whites? Make sure to flyer
                 the parking Lots, Legally, or course.
                 2) Commies and feminists clash today. HopefuLly they kiLl oath other?
                 3) Some celebration for a holiday I never heard of before. But it’s pro nigger. Wait, isn’t this a
                 Texas only thing? I am confused. But a good idea to pass out anti -koon flyers or anti nigger
                 TightRope stickers. He selLs some realLy funny anti-koon stickers. LOL
                 4) Bowers Show TriaL...

                 Make sure to slam Ohio, Western PA and Buffalo for the next two weeks. Just to show them
                 fiLthy yids that there are consequences for persecuting White People. We pray LWs do the
                 right thing. LegaLly, of course.




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                 RAHOWA
                 Rev. LLoyd, PM
                 Church of Ben Kiassen
                 www.creativityretigion.com


                 PS: CCing Texas, Ohio and PA media.

        71.     Around the same time, LLOYD added the following message to the homepage of

 creativityreligion.com:


                                  PITTSBURGH
                                      MUST
                                      BURN
                                     TO THE
                                   GROUND !!!
        72.     On June 18, 2023, LLOYD made a post on the “enemies” page of

 creativityreligion.com that included the same photograph of WITNESS 1, the first and last name

 of WITNESS1, and that WITNESS1 was “of Squirrel Hill.”

               LLOYD Comments Online about Penalty Phase of Bowers Trial

        73.     On June 26, 2023, the penalty phase of the Bowers trial began to determine whether

 the death penalty will be imposed.

        74.     On June 27, 2023, LLOYD sent an email associated with his website, titled “If

 Bowers Gets Death It’s Death To The Jew Race.” The content of the email was as follows:

        If Lone Wolf Hero Bowers is not freed, but instead gets death, then death shall fall
        upon the entire jew race in all countries. The peoples ofthe Earth have one common
        enemy, the vile jew!! We must unite and kill all jews. Lone Wolves, HAMAS, PLO,
        Skinheads, Bikers, Mestizo and Mexican Fascists, Japanese Nazis, Hindu
        Nationalists, Black Israelite’s, Muslims the world over, TARGET ALL JEWS till
        no jew remains on Earth. We can unite and wage glorious JIHAD upon these rats
        in human form.


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         DEATH TO ALL JEWS

        RAHOWA
        Rev. Lloyd, PM
        Church of Ben Kiassen
        www.creativityreligion.com

         75.   On July 13, 2023, the jury found Bowers eligible for the death penalty.

        76.    On July 16, 2023, LLOYD sent an email associated with his website, titled

 “Bowers Leads by Example.” The content of the email was as follows:

        Well, I watched on Haystack App that Warrior Bowers was erroneously found
        ‘guilty’ on the death penalty phase of this farce. The good news is that synagogues
        remain easy targets, and Lone Wolves need to, nay, must attack these jew hangouts.
        Let’s see a BOWERS in every city in every country. Let’s see attacks against jews
        in Florida increase to drive home the point that no shabbos goy law will stop us.
        Pgh needs more anti-jew shootings. There are over 50,000 kike scum in that city.
        Well, 49,989 now. lol

         We need a TREE OF LIFE shooting every month until either the yids leave, or they
        get so many anti-White and anti 1A laws passed that even right-wing faggots start
        embracing Hitler. Remember, worse is better!! Let’s push the jews to pass more
         laws so we can recruit more people to openly shoot them. Also, passing out anti
        jew flyers aimed at negroes is also good, as black supremacists HATE jews more
        then they hate Whites. And let’s not forget to network with Arabs and Moslims
         [sic].

        The 21st Century needs to become the century when daily jew shootings and
        stabbings and clubbings become so common that no one will care. Then we can
        simply walk down the streets of, say Forbes Aye, killing every jew we see without
        a worry of having to then shoot some racist pigs, too. May this day come soon.

        77.    On or about July 17, 2023, LLOYD changed the front page of his website to ready

 as follows:

                                        REMEMBER;
                                      Most Synagogues
                                      Have Zero Armed
                                     Guards Dress As A
                                              -

                                       3ew And Kill!!
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         78.          On July 16, 2023, LLOYD sent an email associated with his website, titled “Tree

 Of Life ‘Victim’ Seen Alive In Squirrel Hill.” The content of the email was as follows:

         Well, the STAGED false flag ‘shooting’ at the so-called ‘Tree of Life’ yid building
         in Pgh’s Jew Hill seems to be unraveling now that the show trial of the mythical
        Bowers is nearing it’s end. Now, we WANT this ‘shooting’ to be real. We WANT
        people to kill jews on mass. We WANT more Bowers out there, dressing up as
        jews, going to temple, and then pulling out a gun and killing every filthy kike
        vermin they see. START SHOOTING JEWS NOW, DAMNIT!!

        However, we cannot find ANY only media accounts or posts, nor social media
        comments, from any BOWERS. Doing a PA search on BOWERS yields one
        woman and two men who are clearly NOT BOWERS. We can find ZERO
        EVIDENCE that BOWERS is a real person. Now, we WANT this to be true. And
        we are actively encouraging copy cat strikes by Lone Wolves. But like Sandy Hook,
        we see no actual evidence of a shooting that day. No shooting deaths are even
        recorded at the county coroner’s office!!

        We pray that BOWERS is a real person, and that this brave Warrior did this
        wonderful act of love for humanity. But we remain Sandy Hookish about it.
        Hopefully, as with the glorious Buffalo Strike of Bravery, we shall get more Tree
        Of Life ‘shootings’ on live-stream!?! We shall be uploading that awesome video
        soon. By Satan, we do love to watch that video every time we get together to go
        boot stomp some Austin faggots and niggers.

        Remember people of ALL RACES, the jews hate ALL PEOPLES the world over.
        Start killing jews, and start dressing up as jews to sneak into jew services so you
        can whack a whole bunch of these rats in human form. Let’s start networking with
        the Black Israelite Supremacists and the Moslims and the Turkish Nationalists and
        even the Cartels. Hell, the Mestizos want to push the jews out of the LA drug + sex
        trafficking trades. Let’s work WITH these other races so we can kill as many kikes
        as possible.

        START SHOOTING UP SYNOGUGES!!

        79.       On July 22, 2023, LLOYD sent an email associated with his website, titled “2

 Dozen Cities Hit,” stating, in part, “Our members and supporters hit between 20-25 cities over the

 last 72 hours.   .   ..“   LLOYD attached the following photograph to the email, which depicts some

 of the same stickers found in Pittsburgh in May 2023:




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                           11’4~

                          10




        80.     On July 22, 2023, an individual submitted an online incident report to the Jewish

 Federation Greater Pittsburgh regarding stickers that the individual found the same day, at

 approximately 3:00 p.m., in the Stanton Heights area of Pittsburgh. The individual uploaded three

 photographs, excerpted below:




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        81.     GPS information for LLOYD’s cell phone, obtained pursuant to a search warrant

 issued by this Court, places LLOYD in the Pittsburgh area on July 22, 2023, for the approximate

 period of 12:22 a.m. to 4:28 a.m.

        82.     On July 28, 2023, LLOYD sent an email associated with his website, titled

 “Stabbing Pgh, Shooting Austin.” In the email, LLOYD asked, “Will Bowers be avenged???”

 and claimed, “Bowers is a fake persona created by the kikes for sympathy bollocks.”

        83.     On August 3, 2023, LLOYD posted the following on his website, VK, Telegram

 and the email of individuals at the Jewish Chronicle:

        a. Telegram:

        “We Warned You, Pgh

        Warrior Bowers was to be freed, or else.
        Well, now y’all get the WHAT ELSE!!
        Lone Wolves on NY, PA and Ohio, target Western PA’s jews.
        Target the hell out of them.
        Do what you do best.
        Shed jew blood till none is left to spill!!

        Bowers showed us the way.

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       Time to follow him.
       Time to wipe the vile jewish paedophiles from the face of the Earth.
       Time to avenge 12,500 years ofjewish supremacy!!

       RAHOWA
       Rev. Lloyd, PM
       Church of Ben Klassen
       www.creativi reli ion.com


       PS: The above message is keeping with US Free Speech protection of general calls to
       violence. Not that we would give a toss if it was ‘illegal’. lol CC#64 gives us the RIGHT
                                                                                     -


       of JIHAD against ALL infidel enemies.”


       b. VK:

                  Hardy Lloyd
                  ‘15 minutes ago
         We Warned You, Pgh

         Warrior Bowers was to be freed, or else.
         Well, now y’all get the WHAT ELSE!!
         Lone Wolves on NY, PA and Ohio, target Western PA’s Jews.
         Target the hell Out of them.
         Do what you do best.
         Shed jew blood till none is left to spill!!

         Bowers showed us the way.
         Time to follow him.
         Time to wipe the vile jewish paedophiles from the face of the Earth.
         Time to avenge 12.500 years of jewish supremacy!!

         RAHOWA
         Rev. Lloyd, PM
         Church of Ben Klassen
         www creat v tyre igion.com

         PS: The above message is keeping with US Free Speech protection of general calls
         to violence. Not that we would give a toss if it was ‘illegal’. 101 - CC#64 gives us the
         RIGHT of JIHAO against ALL infidel enemies.



                                    JIM        CAVIEZEL




           Home Page
           creativityreligion.com


          c2        ~
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               Website:

         B CHURCH OF BEN                                                WELCOME TO THE
                                                                        CHURCH OF BEN
                                                                        KLASSEN

                                                                                Warrior Bowers
                                                                         We Warned You, Pgh!! Now Feel
                                                                            The Wrath Of Lone Wolf
                                                                                  Attacks!!
                                                                            But first, go see SOUND OF
                                                                          FREEDOM, a film talking about
                                                                         jewish sex slave trade. Then you
                                                                            die after buying the ticket.

                                                                                  JIM   CAVIEZEL




       84.     On August 8, 2023, LLOYD issued a new post to his VK and Telegram Accounts

       titled “Murder Retaliation Against Alabama Negroes.” In the post, LLOYD also shared plans

       to target two random members of the Jewish community in Pittsburgh and two in Austin. The full

       post on Telegram read as follows:

        Murder Retaliation Against Alabama Negroes

        5-10 random niggers in Alabama will be targeted in retaliation for
        that anti-White hate attack. Also, 2 random jews/niggers in Austin
        and 2 in Pgh will also be randomly targeted. Anti-White HATE has
        consequences. For every one White attacked or shown bigotry
        we shall target 2-4 random jews, niggers and/or tranny freaks.
        These random targets will most likely be in Texas and PA/Ohio.
        But will also occur in the cities/states of the anti-White HATE. By
        Lone Wolves, NOT by members of the COBK.

        WINK
        WINK

        DO NOT FUCK WITH US!!


        RAHOWA
        Rev. Lloyd, PM
        Church of Ben Klassen
        www creativityreligion.com

        PS: The above is protected under the 1A as a general call to
        violence.                                              2 ~ 11:29




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                                          CONCLUSION

       85.      Based on the forgoing, there is probable cause that—

             a. Beginning in or about at least May 2023 and continuing through in or about June

                2023, in Brooke County, in the Northern District of West Virginia, and elsewhere,

                the defendant, HARDY CARROLL LLOYD, did corruptly endeavor to influence,

                obstruct, and impede the due administration ofjustice in United States ofAmerica

                v. Robert Bowers, Criminal No. 18-292, in the United States District Court for the

                Western District of Pennsylvania by engaging in threatening conduct directed at the

                jury and government witnesses, as described more herein, in violation of 18 U.S.C.

                § 1503(a).
             b. On or about May 19, 2023, in Brooke County, in the Northern District of West

                Virginia and elsewhere, the defendant, HARDY CARROLL LLOYD, did

                knowingly transmit in interstate and foreign commerce an email communication

                over the Internet containing a threat to injure the person of another, specifically the

                email with the subject line “Ouch,” as further described above, in violation of 18

                U.S.C. § 875(c).

             c. On or about June 2, 2023 and June 3, 2023, in Brooke County, in the Northern

                District of West Virginia, the defendant, HARDY CARROLL LLOYD, did

                knowingly attempt to intimidate, threaten, and corruptly persuade WITNESS 1 by

                making the posts to the “enemies” page of his website, as further described above,

                with the intent to influence, delay, and prevent the testimony of WITNESS 1 in an

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              official proceeding, specifically the trial being conducted in United States of

             America v. Robert Bowers, Criminal No. 18-292, in the United States District Court

              for the Western District of Pennsylvania.

       86.    Accordingly, I request that the Court issue the proposed arrest warrant.

                                                       Respectfully submitted,



                                                       Matthew Messich
                                                       Special Agent
                                                       Federal Bureau of Investigation


       Subscribe.   .   d sworn to before me on   ugust 9, 2023.



                   JAMES P. MAZZONE
              JSTATES MAGISTRATE JUDGE




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